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               IN THE UNITED STATES DISTRICT COURT OF MARYLAND
                              BALTIMORE DIVISION


 SAMUEL GREEN

            Plaintiff,                                       CIVIL CASE NO.
 vs.                                                         1:19-CV-1410

 AMF BOWLING, INC

         Defendant.


  PLAINTIFF’S REPLY TO DEFENDANT’S OPPOSITION TO MOTION TO STRIKE

       NOW COMES, Samuel Green, (hereinafter referred as the “Plaintiff”), by and through his

undersigned counsel, and Replies to the Defendant’s Opposition to Plaintiff’s Motion to Strike and

for reasons state:

       1.        Defendant in response to Plaintiff’s Motion to Strike, for the first time,

characterizes its Motion to Dismiss as an “Alternative Motion”. Defendant also seems to agree

that its Motion to Dismiss is premature but argues that courts in New York and New Jersey have

considered a motion to dismiss under similar circumstances. A rudimentary reading of these two

cases clearly demonstrate that they are dissimilar to the instant action.

       2.        It is axiomatic in this jurisdiction and many others in our jurisprudence that an

Amended Complaint supersedes all other complaints and is therefore the operative complaint. See

Young v. City of Mt. Ranier, 238 F.3d 567, 573 (4th Cir. 2001) (Because a properly filed amended

complaint supersedes the original one and becomes the operative complaint in the case, it renders

the original complaint "of no effect). Until this Court grants Plaintiff’s Motion to Amend the

Complaint, it is Plaintiff’s position that the Court could not consider Defendant’s Motion to

Dismiss and that it was prematurely filed.



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       3.      In the alternative, the Defendant request that this Court convert its premature

Motion to a Summary Judgment without affording the Plaintiff adequate discovery. This Court

should deny the Defendant’s invitation to convert its premature Motion because in doing so,

plaintiff would be prejudiced, because the parties are in the midst of discovery, and evidence is

still be exchanged by the parties. See Zak v. Chelsea Therapeutics Intern., Ltd., 780 F.3d 597 (4th

Cir. 2015) and see also Fed.R.Civ.P. 12(b), 12(d), and 56.

       WHEREFORE, Plaintiff respectfully request that the Plaintiff’s Motion to Strike Materials

Extrinsic to the Complaint be granted, and for such other and further relief as may be deemed just

and proper.

                                      Respectfully Submitted,

                                      /s/ Jessie Lyons Crawford
                                      ____________________________
                                      Jessie Lyons Crawford, Esq.
                                      Fed. Bar No.:68788
                                      THE LAW OFFICES OF JESSIE LYONS CRAWFORD, LLC
                                      2601 Maryland Avenue
                                      Baltimore, Maryland 21218
                                      O: 410-662-1230
                                      F: 410-662-1238
                                      E: attorneyjlcrawford@verizon.net

                                      Kim Parker, Esq.
                                      Fed. Bar No.:23894
                                      THE LAW OFFICES OF KIM PARKER, P.A.
                                      2123 Maryland Avenue
                                      Baltimore, Maryland 21218
                                      O: 410-234-2621
                                      F: 410-234-2612
                                      E: kp@kimparkerlaw.com

                                      COUNSEL FOR PLAINTIFF




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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that Plaintiff Reply was served this day via the Courts ECF filing

system on all counsel of record.

                                         /s/ Jessie Lyons Crawford
                                         _______________________
                                         Jessie Lyons Crawford, Esq.




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